                    Case 2:19-cr-00693-BRM                                   Document 37                        Filed 10/09/19                         Page 1 of 1 PageID: 146


 ‘.CJA 20 APPOINTMENTOF AND AUTHORITY TO PAYCOURT-APPOINTED COUNSEL (Re’                                                  203)
L CIR 01ST/DIV. CODE       2 PERSON REPRESENTED                                                                                                   VOUCHER NUMBER
                            KYLE D. McLEAN
3. MAG. DKT:DEF NUMBER                                         4 01ST DKT/DEF.NUMBER                           5. APPEAl-S DKT DEE NUMBER                           6. OTHER DKT. NUMBER
                                                                CR.: 19-693-BRM-03
7.       IN CASEMATTER OF (Cisc .V,imei                        S PAYNIEN F CATEGORY                            9. rIPE PERSON REPRESENTED                           ‘0 REPRESENTAIION TYPI’
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     USA v              ELLIS et al
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          AND MAILING ADDRESS                                                                                    20 Appointing Counse                                      C     Co-CDunscl
     F ran k P A r I eo                                                                                            F Subs For Federal Defender                      E R Subs For Retained .AIlorjev
                                                                                                                                                                    C I Standby Counsel
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     622 Eagle RockAve                                                                                                                                                                     -




     West Orange, NJ 07052                                                                                      Pcor AItnnlry,.Nelii/
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                                                                                                                 Th Other (Ste ‘sues’
     Frank P. Arleo, Esq.
     Arleo & Donahue
     622 Eagle Rock Ave
     West Orange, NJ 07052                                                                                                          10/9/2019
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GRAND TOTALS (CLAIMED AND ADJUSTED):                                                                                               000                                                   0.00
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          I sin ear or affirm the truth or correcmens of the abort statements.
          S:ena1uee of Attorney                                                                                                                             Dame

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lx. SIGNATURE OF THE PRESIDING JUDGE                                                                                     DATE                                        2sa. JUDGE COD,:

29. IN COURT COMP                                 3D. OUTOFCOURTCOMIA             JI. TRAVEL EXPENSES                    32 amER EXPENSES                            31 TO’EAI,AMT APPROVED
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34. SIGNATURE OF CHIEF JLIDGE. COURT OF APPEALS (OR DELEGATE) Paunnens appsvuu’ul                                        DATE                                        34;. JUDGE CODE
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